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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                              SOUTHERN DIVISION


BETHESDA SOFTWORKS LLC,                CASE NO.
1370 Piccard Drive
Rockville, MD 20850

                   Plaintiff,          COMPLAINT FOR BREACH OF
                                       CONTRACT, INDUCEMENT TO BREACH
             v.                        OF CONTRACT, COPYRIGHT
                                       INFRINGEMENT, MISAPPROPRIATION
BEHAVIOUR INTERACTIVE, INC.            OF TRADE SECRETS, AND UNFAIR
416 Maisonneuve Ouest, bureau 600      COMPETITION
Montreal, Quebec
Canada H3A 1L2
                                       JURY TRIAL DEMANDED
and

WARNER BROS. ENTERTAINMENT,
INC.,
4000 Warner Blvd.
Burbank, CA 91522

                   Defendants.
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                                          COMPLAINT

        Plaintiff, Bethesda Softworks LLC (“Bethesda”), by its undersigned attorneys, alleges as

follows, upon actual knowledge with respect to itself and its own acts, and upon information and

belief as to all other matters.

                                  NATURE OF THE ACTION

        1.      This is a civil action for breach of contract, copyright infringement, unfair

competition, and misappropriation of trade secrets. Bethesda brings this action against

Behaviour Interactive, Inc. (“Behaviour”) for breach of its contract regarding the development

and ownership of FALLOUT SHELTER, a widely acclaimed mobile game owned and published

by Bethesda. Bethesda also brings this action against Warner Bros. Entertainment (“Warner

Bros.”) for inducement to breach that contract. Bethesda further brings this action against

Behaviour and Warner Bros. (together, “Defendants”) for their willful and intentional

infringement of Bethesda’s copyrights, misappropriation of Bethesda’s trade secrets, and

deceptive business practices and unfair competition through their development, marketing, and

promotion of the Westworld mobile game.

        2.      FALLOUT SHELTER, set in the post-apocalyptic universe of Bethesda’s

successful FALLOUT franchise, places users in the role of the “overseer”—a designer and

manager of an underground vault of people trying to escape the nuclear wasteland above ground.

The overseer must balance resources, fend off attacks from raiders and radioactive insects and

monsters, and keep the dwellers of the vault happy so that the human race can survive. Bethesda

conceived of and designed the environment and gameplay features for FALLOUT SHELTER to

fit within the aesthetic and storyline of the FALLOUT universe.

        3.      To realize its design, Bethesda contracted with Behaviour under a work-for-hire

agreement to develop FALLOUT SHELTER to Bethesda’s specifications solely for use by




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Bethesda, and no one else, including Behaviour or any third party. Under the agreement, all

Behaviour work product of any kind, including code, designs, artwork, layouts, and other assets

and materials for FALLOUT SHELTER were authored and owned by Bethesda ab initio as

works made for hire.

       4.      In October 2016, Warner Bros. began broadcasting the television show

Westworld on its HBO platform. Westworld is a work of science fiction in which wealthy

patrons visit a technologically advanced Wild-West-themed amusement park populated

by androids who allow the human guests to indulge in various, often violent, fantasies.

       5.      Warner Bros., sharing a similar consumer demographic, and recognizing

Bethesda’s significant success in bringing its FALLOUT SHELTER game to a broad audience

on mobile devices, engaged and collaborated with Behaviour to develop a mobile app for its own

science-fiction property, Westworld.

       6.      To bring the Westworld mobile game to market, Behaviour and Warner Bros.

utilized Bethesda’s intellectual property without authorization to develop a mobile game with the

same or substantially similar gameplay experience as that provided by the copyrighted

FALLOUT SHELTER mobile game. In so doing, Behaviour breached its contract with

Bethesda and utilized its restricted access to Bethesda’s intellectual property, including

Bethesda’s copyrighted code, trade secrets, and other rights, to compress its development

timeline, reduce costs, and quickly bring the Westworld mobile game to market, and offer

players the widely popular gameplay experience found in FALLOUT SHELTER. The unlawful

use of FALLOUT SHELTER’s design, gameplay, and copyrighted computer or source code

allowed Behaviour and Warner Bros. to develop a mobile game with features and gameplay

highly similar to those in FALLOUT SHELTER.




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       7.      The Westworld game is a blatant rip-off of FALLOUT SHELTER. Working with

the same copyrighted computer code used by FALLOUT SHELTER, Westworld has the same or

highly similar game design, art style, animations, features and other gameplay elements as

FALLOUT SHELTER, all of which are owned by Bethesda.

       8.      Behaviour’s breach of its contract with Bethesda is evidenced by the gameplay of

Westworld, which uses the same copyrighted computer code created for Bethesda’s FALLOUT

SHELTER game. Behaviour’s use of the computer code owned by Bethesda to develop

Westworld even included the very same ‘bugs’ or defects present in the FALLOUT SHELTER

code. For example, the demonstration version of the Westworld game includes a visible

software ‘bug’ or code defect present in an early version of FALLOUT SHELTER code

delivered by Behaviour to Bethesda during game development. This software ‘bug’ appears

when a player starts up the demonstration version of the Westworld game. Specifically, the view

is out-of-focus and the scene that appears is far to the right and below the targeted landscape

image. It is as if a camera capturing the scene had been inadvertently pointed to the lower right

foreground and then slowly refocuses on the central image. The identical problem appeared in

initial versions of FALLOUT SHELTER but was addressed before FALLOUT SHELTER was

released to the public. While this error was ultimately fixed in subsequent builds of FALLOUT

SHELTER, the appearance of the bug in the Westworld game demo makes clear that the

FALLOUT SHELTER source code was used by Behaviour in developing the Westworld game.

       9.      Behaviour and Warner Bros.’ misuse of Bethesda’s intellectual property,

including Bethesda’s copyrighted code, allowed and continues to allow the Defendants to benefit

from the unique and popular gameplay experience created by Bethesda at its expense in

FALLOUT SHELTER. By utilizing Bethesda’s copyright and other intellectual property rights,




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Behaviour and Warner Bros. seek to attract consumers with the expectation of a FALLOUT

SHELTER-type gameplay experience. This wanton misappropriation of Bethesda’s intellectual

property in violation of Behaviour’s agreement with Bethesda harms Bethesda by, among other

things, denying it the exclusive commercial benefits of the copyrighted code which Bethesda

paid for and which drives the gameplay experience provided in FALLOUT SHELTER.

Bethesda seeks to enjoin such activities and recover statutory damages, actual damages,

Behaviour’s and Warner Bros.’ profits, restitution, and attorneys’ fees and costs.

                                         THE PARTIES

       10.     Plaintiff Bethesda Softworks LLC is a Delaware limited liability company with its

principal place of business at 1370 Piccard Drive, Rockville, Maryland 20850.

       11.     Defendant Behaviour Interactive Inc. is a Canadian corporation with its principal

place of business at 416 Maisonneuve Ouest, bureau 600, Montreal, Quebec, Canada H3A 1L2.

       12.     Defendant Warner Bros. Entertainment Inc. is a California company with its

principal place of business at 4000 Warner Blvd., Burbank, CA 91522.

                                JURISDICTION AND VENUE

       13.     This action arises under the federal Copyright Act, 17 U.S.C. §§ 101, et seq.; the

Defend Trade Secrets Act, 18 U.S.C. §§ 1836, et seq.; the Maryland Uniform Trade Secrets Act,

Md. Code Ann., §§11-1201, et seq.; and common law. This Court has jurisdiction over the

subject matter of this action pursuant to 28 U.S.C. §§ 1331, 1338(a) and (b) and 15 U.S.C. §

1121. This Court also has diversity jurisdiction under 28 U.S.C. § 1332 because Bethesda

resides in Maryland, Behaviour resides in Canada, Warner Bros. resides in California, and the

amount in controversy exceeds $75,000. This Court has supplemental jurisdiction over

Bethesda’s state-law claims pursuant to 28 U.S.C. § 1367 because those claims are substantially

related to Bethesda’s copyright and Defend Trade Secret Act claims.




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       14.     This Court has personal jurisdiction over Behaviour and Warner Bros., and venue

is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c), because Bethesda has been

harmed in this District, and because Behaviour and Warner Bros. operate in this district and

violated Bethesda’s rights in this District. Both Behaviour and Warner Bros. make and distribute

games in the United States and this District through the Apple App Store and the Google Play

Store. Further, Behaviour entered into a contract governed by the laws of this District and

agreed to be bound by the laws and exclusive jurisdiction of this District for any dispute arising

from the contract.

       15.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b).

                        BETHESDA’S FALLOUT SHELTER GAME

       16.     The FALLOUT franchise of video games draws gamers into alternate history,

diverging from existing reality shortly following WWII. The various FALLOUT video games

largely take place in the years following the destruction of the earth as people begin to emerge

from their underground vaults into the nuclear wasteland.

       17.     Bethesda, a publisher that develops, publishes, and distributes interactive video

games, owns all intellectual property rights in and to the FALLOUT franchise, including all

computer code. Bethesda released its first FALLOUT game, FALLOUT 3, in 2008. FALLOUT

3 launched to critical acclaim, earning Game-of-the-Year honors, and achieving great

commercial success. (Ex. A.)

       18.     Bethesda followed the success of FALLOUT 3 with FALLOUT: NEW VEGAS

in 2010. FALLOUT: NEW VEGAS includes similar open-world gameplay in the post-

apocalyptic wasteland of Nevada, California, and Arizona.

       19.      In November 2015, Bethesda released FALLOUT 4, an open-world role playing

game similar to the previous installments, set in the nuclear wasteland 10 years before the events



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in FALLOUT 3. FALLOUT 4 was honored as Game-of-the-Year and was one of the best-

selling games of 2015. (Ex. B.)

       20.     In 2013, Bethesda decided to expand and enrich the FALLOUT player experience

and reach a wider audience by developing a version of the game compatible with the Apple iOS

and Google Android operating systems under the name FALLOUT SHELTER. This version of

a simulation-style game was intended to extend the franchise into mobile gaming. Within a day

of its release in June 2015, FALLOUT SHELTER became the most-downloaded free mobile app

in the United States and became the third-highest grossing game on the iOS app store. (Ex. C.)

FALLOUT SHELTER has been downloaded by over 120 million players. (Ex. D.)

                    BEHAVIOUR’S CONTRACT WITH BETHESDA
                  AND BETHESDA’S RIGHTS IN FALLOUT SHELTER


       21.     On January 22, 2014, Bethesda engaged Behaviour to assist developing the

FALLOUT SHELTER game under the code name “Underground.” The terms and conditions of

this engagement are set forth in the parties’ Software Development and Services Agreement (the

“Agreement”). Under the Agreement, Bethesda provided the conception, design, and overall

direction of the game’s mechanics and resulting look and feel, and Behaviour provided the

implementation. The Agreement expressly states that all work product and any other materials

created by Behaviour related to the game, including its source code, content, assets, and

associated intellectual property rights, were created as works made for hire for Bethesda and that

to the extent any materials were not works made for hire, such materials were assigned to

Bethesda. Accordingly, any and all rights Behaviour may have had in any materials related to

the game vested, ab initio, in Bethesda upon fixation.




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       22.      The Agreement between Bethesda and Behaviour includes express provisions

related to the development and ownership of FALLOUT SHELTER, establishing Bethesda as

the sole owner of all rights. For example, Behaviour agreed:

             • That Bethesda owns all intellectual property and rights related to the development

                of FALLOUT SHELTER, including “all associated versions and derivatives” and

                “all artwork, game designs, game play features, programming, trademarks, trade

                names, copyrights, know-how, patents, trade secrets and other Intellectual

                Property Rights.” (§ 2.4.1.)

             • That any rights resulting from the development of FALLOUT SHELTER not

                automatically vesting with Bethesda under the contract are irrevocably and

                unconditionally assigned to Bethesda. As part of this Assignment, Behaviour

                “appoint[ed] Bethesda as attorney-in-fact for Behaviour with the right…to

                execute such instruments in the name of Behaviour on Bethesda’s behalf” on a

                work made for hire basis. (§ 2.4.2.)

             • That its employees and contractors must execute non-disclosure and

                confidentiality agreements to ensure “strict protection of all proprietary

                information provided by Bethesda, and waiving any and all rights, including

                ‘moral’ rights, such employees and contractors may have to the Work Product

                and any other material generated under this Agreement.” (§ 4.1.)

             • That Behaviour was obligated to “comply with all directives and suggestions from

                Bethesda concerning game development.” (§ 5.)




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             • That Behavior would not “use, sell, transfer, publish, disclose, or otherwise make

                available to third parties any portion of” Bethesda’s confidential information. (§

                7.),

             • That any disclosure of Bethesda confidential information by Behaviour would

                “cause irreparable harm” and that the offended party would be entitled to

                injunctive or other equitable relief. (§ 9.3.)

             • That if Behaviour breaches the Agreement, it is “liable and shall pay the other

                party, in addition to any money damages award, the reasonable legal fees

                incurred by said party.” (Id.)

       23.      Under the Agreement, Bethesda also had the following rights and Behaviour the

following obligations:

                •   Bethesda had on-demand access to work-in-progress code and assets, as well

                    as “24/7/365 access to Behaviour’s code and asset depot.” (§ 3.4.1.)

                •   Behaviour was required to provide milestone builds and all archived versions

                    of the builds following approval of the platform owner (e.g., Apple or

                    Google). (§ 3.4.2.)

                •   Behaviour was obligated to submit all materials to Bethesda for testing and

                    quality assurance. (§ 3.5.)

                •   Bethesda retained and exercised complete “creative, technical and promotion

                    control over all phases of development and distribution” including “all text,

                    graphics, artwork, voices, designs, gameplay, music, screens and characters.”

                    (§ 5.)




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               •   Bethesda retained and exercised complete control “over all phases of the

                   promotion, marketing, public relations and dissemination of information.”

                   (Id.)

               •   Bethesda retained and exercised the right to visit Behaviour’s facilities to

                   monitor progress of the development. (§ 6.)

       24.     Bethesda has complied with all of its obligations as set forth in the Agreement.

As shown below, Behaviour has not.

       25.     FALLOUT SHELTER is an original work of creative expression that provides

audio-visual entertainment to users and includes numerous creative elements subject to copyright

protection as copyrightable subject matter. This originality and creativity were recognized by the

U.S. Copyright Office, which issued U.S. copyright registration TX0008074781 for FALLOUT

SHELTER to Bethesda. This registration covers all copyrightable aspects of the game, including

the source code, game assets, and user interface.

       26.     Based on the contractual relationship between Behaviour and Bethesda,

Behaviour had access to all source code, game assets, and other intellectual property related to

the development of FALLOUT SHELTER that was owned by Bethesda.

                            THE WESTWORLD MOBILE GAME
                           AND DEFENDANTS’ WRONGFUL ACTS


       27.     In March 2018, Warner Bros. announced its intent to release a Westworld mobile

game and demonstrated the game at the popular Game Developer Conference (“GDC”) in San

Francisco, California and at SXSW in Austin, Texas. The website for the game,

www.westworldmobile.com, states that the Westworld mobile game is “developed by Behaviour

Interactive.” (Ex. E.)




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      28.       As detailed in multiple third-party articles about the Westworld game as

demonstrated, it bears a striking resemblance to FALLOUT SHELTER, e.g.:

            •   After playing the game at GDC, a Forbes reporter wrote, “It’s an obvious Fallout

                Shelter evolution, centered around a similar base-building mechanic.” (Ex. F.)

                (Emphasis added).

            •   Another analyst commented, “Westworld mobile is definitely taking a page out of

                the Fallout book with its cheerful Pipboy-influenced characters and it fits rather

                well with the game’s premise” and “The game itself plays like Fallout Shelter

                mixed with a Theme Park sim.” (Ex. G.) (Emphasis added). The same article

                calls out the Westworld mobile game’s use of “Fallout Shelter-style rooms.” (Id.)

            •   Commenting on the Warner Bros. demo of the game at SXSW, VentureBeat

                noted “the side-view user-interface looks a lot like Fallout Shelter.” (Ex. H.)

                (Emphasis added).

            •   In an article titled “Warner Bros. partners with Fallout Shelter dev Behaviour

                Interactive on Westworld mobile game,” Pocket Gamer stated “The Westworld

                mobile game appears [] much in the same vein as Fallout Shelter.” (Ex. I.)

            •   The same article notes “Given that Fallout Shelter accrued over 100 million

                downloads in two years of release, it’s not difficult to see why publishers are still

                working with Behaviour on making similar games for different brands.” (Id.)

            •   According to Den of Geek, “the Westworld mobile game is more or less a

                Westworld version of Fallout Shelter.” (Ex. J.) (Emphasis added).

            •   CinemaBlend added “the gameplay of Westworld doesn’t look too dissimilar to

                Fallout Shelter.” (Ex. K.)




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             •   In an article titled “Westworld’s Video Game Looks a Lot Like Fallout Shelter,”

                 the author captioned the Westworld mobile game trailer “So, yeah, Fallout

                 Shelter.” (Ex. L.) (Emphasis added).

             •   GameCrate, in its description of a video of the Westworld mobile game, states,

                 “Looks a lot like Fallout Shelter, don’t you think?” (Ex. M.)

             •   In an article titled, “Westworld Mobile Game Is In The Works From The Makers

                 Of Fallout Shelter,” a Westworld fan website identifies Warner Bros. and

                 Behaviour as the game developers. (Ex. N.) The article continues, “Warner Bros.

                 has tapped the makers of Fallout Shelter, Behaviour Interactive, to design a game

                 based on HBO’s hit show.” (Id.)

       29.       The press comments above (and many others), establish the obvious: the

Westworld mobile game has substantially similar (if not virtually identical) gameplay elements,

designs, concepts, style, and other assets of FALLOUT SHELTER. Those gameplay features in

the Westworld mobile game are made possible by Behaviour’s unlawful use of the computer

code developed for FALLOUT SHELTER and owned by Bethesda.

       30.       By recreating FALLOUT SHELTER with Westworld’s “western” theme,

Behaviour and Warner Bros. benefit from the success, good will, and consumer base created by

FALLOUT SHELTER. The Westworld mobile game seeks to attract players by its

misappropriation of intellectual property of Bethesda.

       31.       Warner Bros. intended for the games to be similar to be able to court the same

consumers. In an interview with ShackNews, Warner Bros.’ Jason Everett, the executive

producer of the Westworld mobile game, expressly acknowledged the similarity between the

game experience of the Westworld mobile game and FALLOUT SHELTER:




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               Interviewer: You guys are using a team in Montreal, which also worked on

               Fallout Shelter. So there’s a lot of similarities, which is a good thing. That’s a

               great game.

               Jason Everett: Fallout Shelter is a terrific simulation. The team in Montreal is

               amazing. And, together, we’re bringing a simulation that I think will be really

               satisfying for players that love those kinds of game experiences…

               (https://www.youtube.com/watch?v=sR_89sHs7RQ at 1:03.) (Emphasis added).

       32.     Warner Bros. engaged Behaviour to develop the Westworld mobile game because

it knew or reasonably should have known that Behaviour had been engaged by Bethesda to

develop the popular FALLOUT SHELTER game and utilized many of the same Behaviour

employees involved in the development of the FALLOUT SHELTER game. Warner Bros.

expected and relied on Behaviour’s ability to reuse and/or leverage Bethesda’s computer code,

game designs, and other intellectual property as the foundation for the Westworld game. This

unauthorized copying and sharing enabled Behaviour to shorten its development cycle, reduce

costs, and decrease the game’s time to market and to command a built-in consumer base by

making the Westworld mobile game’s gameplay experience and look-and-feel the same as or

substantially similar to FALLOUT SHELTER.

       33.     As a direct result of Behaviour and Warner Bros.’ misuse of Bethesda’s

intellectual property, the Westworld mobile game features gameplay elements and mechanics

that are the same or substantially similar to FALLOUT SHELTER. As demonstrated by the

various news and press articles cited above and the sample screen captures detailed below,

Behaviour and Warner Bros. included essentially all of the protected characteristics of

FALLOUT SHELTER in the Westworld mobile game, including the look and feel of the game




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as well as game design and gameplay mechanics. Behaviour and Warner Bros. copied

FALLOUT SHELTER’s features and then made cosmetic modifications for Westworld’s

“western” theme. This infringement and misappropriation were accomplished by accessing and

using the source code and other assets owned by Bethesda. As detailed in Paragraph 8, such

infringing copying of Bethesda’s copyrighted code is evidenced by the presence of a unique bug

or code defect which appears in the Westworld game demo and also in the code base of a build

of FALLOUT SHELTER delivered by Behaviour to Bethesda during game development of

FALLOUT SHELTER. If Behaviour had not used the computer code and other intellectual

property of Bethesda, Behaviour would not have developed the Westworld mobile game it

unlawfully produced and is distributing.

       34.    FALLOUT SHELTER includes a unique gameplay environment that depicts a

multiroom underground vault. The game displays each room using three walls, a ceiling, and a

floor. FALLOUT SHELTER hides the fourth wall, creating a cross-sectional view that allows

the player to see and interact with what is happening in each room. The Westworld mobile

game, utilizes the same computer code and intellectual property used to make FALLOUT

SHELTER and owned by Bethesda, to create the same gameplay environment, underground

multiroom layout, and cross-sectional room views.




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     FALLOUT SHELTER: Gameplay Layout                        Westworld: Gameplay Layout




       35.    FALLOUT SHELTER renders each of the rooms using three-dimensional objects

having depth and perspective with a common vanishing point centered on the screen. The

Westworld mobile game uses the same depth, perspective and vanishing point when displaying

its rooms.

  FALLOUT SHELTER: Room close-up                              Westworld: Room close-up




       36.    As the user moves or pans the screen to view different areas of FALLOUT

SHELTER’s vault, the vanishing point remains centered on the screen, causing the perspective

of the rooms to change dynamically and creating a unique look and feel as the room perspectives




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changes. Because the Westworld mobile game uses the same source code as FALLOUT

SHELTER, it too includes this same visual effect when moving around the game environment.

FALLOUT SHELTER: Panning - moving rooms from right to left.




Westworld: Panning - moving rooms from right to left.




         37.     In addition to the screenshots above, Bethesda’s E3 2015 press conference

footage (“FALLOUT SHELTER E3 video”), which can be viewed at

https://www.youtube.com/watch?v=WsB9eYF8tHg (beginning around 1:16) and the Westworld

mobile game’s press video, available at https://app.box.com/v/Westworld-GameAnnouncePK-

0311/file/282276355728 (beginning around 0:08 and 0:47) provide an even more compelling

example of both games sharing the same look and feel when moving around the game

environment. These similarities are due to Behaviour and Warner Bros.’ unlawful reuse and

copying of Bethesda’s source code.

       38. In addition to the horizontal and vertical movement around the environment,

            FALLOUT SHELTER uses unique mechanics and transitions when zooming into and

            out of a particular room. FALLOUT SHELTER allows the user to double tap on a

            room to initiate a zoom into that room. The camera appears to fly toward the room

            until the room fills the full screen. Double tapping again reverses the motion to




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          provide an overall view. The Westworld mobile game, based on Bethesda’s source

          code, uses the same mechanics and animations and, like FALLOUT SHELTER,

          instructs the users about the double tap gesture in the same way.

    FALLOUT SHELTER: Zoom tutorial                                   Westworld: Zoom tutorial




       39.     When a user double taps on a room in the Westworld mobile game, the animation

is the same as that in FALLOUT SHELTER when a user double taps a room. First the room is

highlighted, and then the camera flies toward the room until the room fills the entire screen. The

Westworld mobile game uses the same gesture to enter or zoom in on a room because the

Westworld mobile game copied Bethesda’s source code and game design from FALLOUT

SHELTER.




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FALLOUT SHELTER: Zoom after double tap sequence




Westworld: Zoom after double tap sequence




               40.     FALLOUT SHELTER also displays the location of each dweller in the rooms of

       the main gameplay view so that the player can easily see the distribution of the dwellers

       throughout the game environment. The Westworld mobile game duplicates this same feature

       using Bethesda’s source code.

          FALLOUT SHELTER: Character locations                       Westworld: Character locations




               41.     FALLOUT SHELTER allows users to purchase or build additional rooms. The

       same program exists in the Westworld mobile game. And the mechanics of selecting and

       building a new room are the same in both games, again because of Behaviour and Warner Bros.’

       copying of Bethesda’s code. First the user taps on a build icon. FALLOUT SHELTER




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represents this process with a hammer icon located in the lower right portion of the screen.

Westworld uses a similar hammer icon, adding a wrench, in a similar location.

    FALLOUT SHELTER: Build icon                                       Westworld: Build icon




       42.     The Westworld mobile game, like FALLOUT SHELTER, depicts the different

room options on virtual cards. Each card includes the price and special attributes of the room at

the bottom, includes a graphic depiction of the room, and shows the room name on the top.

Additionally, the Westworld mobile game copied the FALLOUT SHELTER lock system and

icon for rooms that cannot yet be built because the user has not reached a prerequisite

requirement.
FALLOUT SHELTER: Room selection                                   Westworld: Room selection




       43.     Next, in both games, the user must choose where to place the new room. When

placing the room, the Westworld mobile game mimics the green boxes showing areas where the

room can be placed in FALLOUT SHELTER. The use of Bethesda’s source code to implement

this feature results in the similarity of the placement system.




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  FALLOUT SHELTER: Room placement                             Westworld: Room placement




       44.     In addition to its unique overall game environment, FALLOUT SHELTER

includes a distinct representation of the dwellers in the vault. The Westworld mobile app makes

almost no effort to distinguish its own character representations from those in FALLOUT

SHELTER, again indicating source code copying. Behaviour and Warner Bros. copied almost

every aspect of the character look and movement that makes the FALLOUT SHELTER

characters unique.

       45.     The Westworld mobile game, like FALLOUT SHELTER, uses cartoonish 2D

characters in a 3D environment. As shown in the screenshots below, in both cases, the game

creates a contrast effect by placing flat-shaded, 2D characters in a smooth-shaded, 3D

environment using Bethesda’s source code. In both games, the emotional state of the characters

is shown with a percentage and a smiley face.




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   FALLOUT SHELTER: Character shading                         Westworld: Character shading




       46.     Both FALLOUT SHELTER’s dwellers and the Westworld characters always

appear facing left or right, emphasizing the lack of depth in the expression of the characters. As

seen in the above screenshots, the Westworld mobile game also uses the same technique as

FALLOUT SHELTER of mixing depth with flat characters by placing the characters on different

depth planes, further giving the impression that the 2D characters exist in a 3D environment.

Behaviour and Warner Bros., using Bethesda’s code to create this look-and-feel, copied the
visual interaction between the characters and the environment from FALLOUT SHELTER to

create the same visual effect.

       47.     FALLOUT SHELTER was programmed to feature distinctive motion and

animation styles to create the overall artistic expression of the characters and their movement.

Behaviour and Warner Bros. reused these movements and animation styles, powered by

Bethesda’s code, throughout the Westworld mobile game.




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            48.     The characters in FALLOUT SHELTER always walk or run in a left or right

    direction (see e.g., FALLOUT SHELTER E3 video at 2:15, screen shots below). This right or

    left walk or run animation cycle continues even as the characters move forward and backward in

    the environment. The player sees a character running or walking left or right, and, at the same

    time, moving further or closer to the camera. The Westworld mobile game uses the same

    animation system (see e.g., Westworld press video at 0:31, screen shots below) showing

    characters walking or running left or right while moving both left or right and forward or

    backward. Behaviour unlawfully used Bethesda’s code for execution of that gameplay.

FALLOUT SHELTER: Character movement sequence




Westworld: Character movement sequence




    The Westworld mobile game also uses FALLOUT SHELTER’s context-specific animations, like

    those of FALLOUT SHELTER, to depict different behavior depending on the room or setting.

    Some of these animations are almost identical to FALLOUT SHELTER. For example, the

    Westworld mobile game copies FALLOUT SHELTER’s bar room complete with characters

    sitting at tables drinking oversized mugs of beer. Behaviour and Warner Bros. unlawfully

    misappropriated Bethesda’s intellectual property for its execution of this game feature.




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FALLOUT SHELTER: Patrons drinking                    Westworld: Patrons drinking




       49.     Behaviour and Warner Bros. copied the subtle sway, bounces, and minute

movements in idle characters that give them and the scene a constant sense of motion and a

distinctive feel as a result of unlawfully copying Bethesda’s code.

       50.     With the common elements discussed above, there is more than a substantial

similarity between FALLOUT SHELTER and the Westworld mobile game. Behaviour and

Warner Bros. repurposed Bethesda’s intellectual property, including source code, to make the

Westworld mobile game.

                 BETHESDA’S FALLOUT SHELTER TRADE SECRETS

       51.     Under the Agreement between Bethesda and Behaviour, Behaviour had access to

Bethesda’s confidential and trade secret information related to the source code, artwork, game

designs, game features, development information, concept documents, planning documents,

deliverables, and other documents and know-how related to the development of FALLOUT

SHELTER (the “FALLOUT SHELTER Trade Secrets”).

       52.     The Agreement between Bethesda and Behaviour includes provisions specifically

designed to protect the FALLOUT SHELTER Trade Secrets. Accordingly, Bethesda took

appropriate precautions to maintain the secrecy of its confidential information and trade secrets

and keep them generally unknown to the public.




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       53.     Bethesda derives economic value from FALLOUT SHELTER Trade Secrets.

Bethesda has the legal right to maintain the confidentiality of its trade secrets and prevent

competitors from developing similar games by misappropriating Bethesda’s intellectual property,

including the computer code, artwork, game design, and other assets used in the execution of its

game development.

       54.     Warner Bros. and Behaviour leveraged Behaviour’s access to and knowledge of

FALLOUT SHELTER Trade Secrets to develop the Westworld mobile game, using Bethesda’s

intellectual property, without Bethesda’s consent.

                        INJURY TO BETHESDA AND THE PUBLIC

       55.     The Westworld game infringes Bethesda’s creative work of authorship and

goodwill. Consequently, Defendants have benefitted unfairly from the reproduction,

distribution, public performance, and creation of unauthorized derivative works in violation of

Bethesda’s rights.

       56.     Warner Bros. contributed to and is vicariously liable for Behaviour’s poaching of

Bethesda’s creative work of authorship and goodwill. Consequently, Warner Bros. has benefited

and will continue to benefit unfairly from its secondary infringement of Bethesda’s copyrights.

       57.     Behaviour and Warner Bros. have misappropriated the FALLOUT SHELTER

Trade Secrets. Consequently, Defendants have benefited and will continue to benefit unfairly

from the acquisition, disclosure, and use of Bethesda’s trade secrets in the development,

production, and distribution of the Westworld mobile game.

       58.     Behaviour has materially breached its Agreement with Bethesda. Defendants

have benefited and will continue to benefit unfairly from the breach of the Agreement, including

its non-disclosure, assignment, and confidentiality provisions.




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       59.     Warner Bros. induced Behaviour to breach the Agreement. Consequently,

Defendants have benefited and will continue to benefit unfairly from Behaviour’s breach of the

Agreement.

       60.     Behaviour and Warner Bros.’ acts, described above, have at all times been

knowing and willful.

       61.     Behaviour and Warner Bros.’ acts, described above, have caused irreparable and

actual harm and are likely to cause irreparable and actual harm to Bethesda.

       62.     Behaviour’s breach has caused irreparable harm under the express terms of the

Agreement.

       63.     Behaviour and Warner Bros.’ acts, described above, have irreparably injured, and,

if permitted to persist, will continue to injure irreparably Bethesda.


                                     CLAIMS FOR RELIEF

                              COUNT I AGAINST BEHAVIOUR
                                BREACH OF CONTRACT


       64.     Bethesda repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

       65.     Behaviour breached material terms of the Agreement, including non-disclosure,

assignment, and confidentiality provisions, in its development of the Westworld mobile game.

                          COUNT II AGAINST WARNER BROS.
                       INDUCEMENT TO BREACH OF CONTRACT


       66.     Bethesda repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

       67.     Bethesda and Behaviour entered into the Agreement, which included material

non-disclosure, assignment, and confidentiality provisions.



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       68.     Warner Bros. was not a party to the Agreement.

       69.     Warner Bros. had actual and/or constructive knowledge of the Agreement

between Bethesda and Behaviour and had actual and/or constructive knowledge that all

intellectual property resulting from the Agreement was owned by Bethesda.

       70.     Warner Bros. induced Behavior to use Bethesda’s intellectual property in

violation of the material provisions of the Agreement to develop the Westworld mobile game.

       71.     Behaviour breached material provisions of the Agreement in response to Warner

Bros. inducement.

               COUNT III AGAINST BEHAVIOUR AND WARNER BROS.
                      DIRECT COPYRIGHT INFRINGEMENT
                             17 U.S.C. §§ 101 ET SEQ.


       72.     Bethesda repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

       73.     Bethesda owns a valid and subsisting copyright registration for FALLOUT

SHELTER.

       74.     Bethesda has not authorized Behaviour or Warner Bros. to use, reproduce,

display, distribute, or create derivative works from its source-code, game mechanics, game

assets, or copyright-protected materials in any way.

       75.     Behaviour and Warner Bros. have directly infringed the Bethesda’s copyrights by

reproducing, distributing, displaying, and creating unauthorized derivative works from

FALLOUT SHELTER with actual notice of Bethesda’s rights.

       76.     Behaviour and Warner Bros. directly benefitted financially from their

infringement of Bethesda’s registered copyrights, as described above.




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                        COUNT IV AGAINST WARNER BROS.
                    CONTRIBUTORY COPYRIGHT INFRINGEMENT
                             17 U.S.C. §§ 101 ET SEQ.


       77.     Bethesda repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

       78.     Behaviour and Warner Bros. have directly infringed the Bethesda’s copyrights by

reproducing, distributing, displaying, and creating unauthorized derivative works from

FALLOUT SHELTER with actual notice of Bethesda’s rights.

       79.     Warner Bros. induced, caused, and/or contributed to the infringement of

Bethesda’s copyrights by materially contributing to Behaviour’s direct infringement despite its

actual notice of Bethesda’s rights.

       80.     Behaviour induced, caused, and/or contributed to the infringement of Bethesda’s

copyrights by materially contributing to Behaviour’s Warner Bros.’ infringement despite its

actual notice of Bethesda’s rights.

       81.     Behaviour and Warner Bros.’ infringement was at all times willful and

intentional.

       82.     Behaviour and Warner Bros. directly benefited financially from their infringement

of Bethesda’s rights, as described above.

                          COUNT V AGAINST WARNER BROS.
                       VICARIOUS COPYRIGHT INFRINGEMENT
                              17 U.S.C. §§ 101 ET SEQ.


       83.     Bethesda repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.




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       84.       Behaviour has directly infringed the Bethesda’s copyrights by reproducing,

distributing, displaying, and creating unauthorized derivative works from FALLOUT SHELTER

with actual notice of Bethesda’s registered copyrights.

       85.       Warner Bros. has the right and ability to control Behaviour’s infringing activities.

       86.       Warner Bros. has a direct financial interest in Behaviour’s infringing activities

through the resulting reduced costs and expedited development of the Westworld mobile game.

       87.       Warner Bros. directly and materially benefited financially from its vicarious

infringement of Bethesda’s rights.

                 COUNT VI AGAINST BEHAVIOUR AND WARNER BROS.
                   MISAPPROPRIATION OF TRADE SECRETS UNDER
                             18 U.S.C. §§ 1836 ET SEQ.


       88.       Bethesda repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

       89.       Bethesda owns the FALLOUT SHELTER Trade Secrets.

       90.       The FALLOUT SHELTER Trade Secrets are not generally known to the public.

       91.       Bethesda derives economic value from maintaining the FALLOUT SHELTER

Trade Secrets.

       92.       Behaviour is aware of the confidentiality and existence of the FALLOUT

SHELTER Trade Secrets.

       93.       Warner Bros. is aware or reasonably should have been aware of Bethesda’s

ownership of the FALLOUT SHELTER Trade Secrets.

       94.       Behaviour and Warner Bros. knowingly used the FALLOUT SHELTER Trade

Secrets in the development of the Westworld mobile game.




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       95.       The Westworld mobile game misappropriates the FALLOUT SHELTER Trade

Secrets in interstate and foreign commerce.

                 COUNT VII AGAINST BEHAVIOUR AND WARNER BROS.
                   MISAPPROPRIATION OF TRADE SECRETS UNDER
                          MD. CODE ANN. §§ 11-1201 ET SEQ.


       96.       Bethesda repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

       97.       Bethesda owns the FALLOUT SHELTER Trade Secrets.

       98.       The FALLOUT SHELTER Trade Secrets are not generally known to the public.

       99.       Bethesda derives economic value from maintaining the FALLOUT SHELTER

Trade Secrets.

       100.      Behaviour is aware of the confidentiality and existence of the FALLOUT

SHELTER Trade Secrets.

       101.      Warner Bros. is aware or reasonably should have been aware of Bethesda’s

ownership the FALLOUT SHELTER Trade Secrets.

       102.      Behaviour and Warner Bros. knowingly used the FALLOUT SHELTER Trade

Secrets in the development of the Westworld mobile game.

       103.      The Westworld mobile game misappropriates the FALLOUT SHELTER Trade

Secrets in interstate and foreign commerce including in this District


                 COUNT VIII AGAINST BEHAVIOUR AND WARNER BROS.
                               UNFAIR COMPETITION


       104.      Bethesda repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.




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       105.    Behaviour has breached its contract with Bethesda related to the development of

FALLOUT SHELTER.

       106.    Behaviour and Warner Bros. have misappropriated Bethesda’s trade secrets

related to the related to its FALLOUT SHELTER game as described herein.

       107.    Behaviour and Warner Bros. have relied on each of these unlawful and unfair

actions alone and in combination to gain an unfair competitive advantage in the video game

market.

                                     PRAYER FOR RELIEF


       WHEREFORE, Bethesda requests that this Court enter judgment in its favor on each and

every claim for relief set forth above and award it relief, including the following:

       a. That an Order be entered granting injunctive relief against Defendants Behaviour and

Warner Bros. preventing and restraining Defendants, their agents, or anyone working for, in

concert with, or on their behalf from infringement of Plaintiff’s copyrights, misappropriation of

Plaintiff’s trade secrets, and unlawful or unfair business conduct;

       b. That an Order be entered granting injunctive or other equitable relief pursuant to the

agreed contract provisions between Plaintiff and Defendant Behaviour.

       c. That an Order be entered against Defendants Behaviour and Warner Bros. to remove

each and every version of the Westworld mobile game from distribution and to cease developing

and supporting the game.

       d. That an Order be entered against Defendants Behaviour and Warner Bros. awarding

statutory damages for willful copyright infringement pursuant to 17 U.S.C. § 504(c), or, in the

alternative, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff’s actual damages and

Defendants’ profits from infringement, in amounts to be proven at trial.




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        e. That an Order be entered against Defendants Behaviour and Warner Bros. for actual

damages as Plaintiff has sustained in an amount to make Plaintiff whole from the effects of

Defendants’ unlawful acts.

        f. That an Order be entered requiring Defendants Behaviour and Warner Bros. to pay

Plaintiff its costs and attorneys’ fees in this action pursuant to 17 U.S.C. § 505, 15 U.S.C. §

1117(a), and/or the agreed contract provisions between Plaintiff and Defendant Behaviour.

        g. That an Order be entered requiring Defendants Behaviour and Warner Bros. to pay

Plaintiff punitive damages, as permitted by law, in an amount to be determined due to the

foregoing willful acts.

        h. That Plaintiff be granted prejudgment and post-judgment interest as permitted by law.

        i. Other relief as the Court may deem appropriate.

                                             JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38, Bethesda respectfully demands a trial by jury on all issues

properly triable by a jury in this action.




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Dated: June 21, 2018       Respectfully submitted,


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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   SOUTHERN DIVISION


BETHESDA SOFTWORKS LLC,                            CASE NO.

                        Plaintiff,

               v.                                  COMPLAINT FOR BREACH OF
                                                   CONTRACT, COPYRIGHT
BEHAVIOUR INTERACTIVE, INC. and                    INFRINGEMENT, TRADE DRESS
WARNER BROS. ENTERTAINMENT,                        INFRINGEMENT, MISAPPROPRIATION
                                                   OF TRADE SECRETS, AND UNFAIR
                        Defendants.                COMPETITION


                                                   JURY TRIAL DEMANDED




                         INDEX OF EXHIBITS TO THE COMPLAINT

  Exhibit A: Copy of Wikipedia article about FALLOUT 3

  Exhibit B: Copy of Wikipedia article about FALLOUT 4

  Exhibit C: Copy of Game Rant article about Fallout Shelter success

  Exhibit D: Copy of Games Radar article about Fallout Shelter success

  Exhibit E: Copy of the Westworld mobile game website

  Exhibit F:        Copy of Forbes article about the Westworld mobile game’s similarity to

                    FALLOUT SHELTER

  Exhibit G: Copy of Shacknews article about the Westworld mobile game’s similarity to

                    FALLOUT SHELTER

  Exhibit H: Copy of VentureBeat article about the Westworld mobile game’s similarity to

                    FALLOUT SHELTER

  Exhibit I:        Copy of Pocket Gamer article about the Westworld mobile game’s similarity to

                    FALLOUT SHELTER




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Exhibit J:   Copy of Den of Geek article about the Westworld mobile game’s similarity to

             FALLOUT SHELTER

Exhibit K: Copy of CinemaBlend article about the Westworld mobile game’s similarity to

             FALLOUT SHELTER

Exhibit L: Copy of Kotaku article about the Westworld mobile game’s similarity to

             FALLOUT SHELTER

Exhibit M: Copy of GameCrate YouTube web page with the Westworld mobile game

             trailer and commentary about the similarity to FALLOUT SHELTER

Exhibit N: Copy of Beyond Westworld article about the Westworld mobile game’s

             similarity to FALLOUT SHELTER




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